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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

     GARRITY POWER SERVICES LLC,                           §
                                                           §
                                                           §
                    Plaintiff,                             §
                                                           §
     v.                                                    §     CIVIL ACTION NO. 2:20-CV-00269-JRG
                                                           §
     SAMSUNG ELECTRONICS CO. LTD,                          §
     SAMSUNG ELECTRONICS AMERICA,                          §
     INC.,                                                 §
                                                           §
                    Defendants.                            §

                ORDER ON PRETRIAL MOTIONS AND MOTIONS IN LIMINE
          The Court held a Pretrial Conference in the above-captioned matter on Monday, November

 29, 2021 regarding pending pretrial motions and motions in limine (“MILs”) filed by Plaintiff

 Garrity Power Services LLC (“Plaintiff” or “Garrity”) and Defendants Samsung Electronics Co.

 Ltd. and Samsung Electronics America Inc. (collectively, “Samsung” or “Defendants”)

 (collectively, the “Parties”). (Dkt. Nos. 133–38, 187, 188, 202). This Order memorializes the

 Court’s rulings on the aforementioned pretrial motions and MILs as announced into the record, 1

 including additional instructions that were given to the Parties. Although this Order summarizes

 the Court’s rulings as announced into the record during the pretrial hearing, this Order in no way

 limits or constrains such rulings from the bench. Accordingly, it is hereby ORDERED as follows:




 1
  As of the filing of this Order, the transcript for the Pretrial Conference had not yet been submitted on the docket.
 The Court therefore cites to the transcript using “PTC Tr.” instead of a docket document number.
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                                       PRETRIAL MOTIONS

 1.       Garrity’s Opposed Motion to Strike and Exclude Undisclosed Evidence of a Design
          Around and Costs Relied Upon by Defendants’ Rebuttal Damages Expert, Dr. Lynde
          (Dkt. No. 133)
          The motion was DENIED. (PTC Tr. at 34:18–35:8). The Court found that the material at

 issue could be fairly addressed through cross-examination. Plaintiff had an opportunity to address

 the material at issue with a supplemental report but chose not to do so. The strategic choice to

 wait until pre-trial to request exclusion of the material indicates that Plaintiff was not so prejudiced

 as to warrant exclusion.

 2.       Garrity’s Motion to Strike Defendants’ Undisclosed Obviousness Combinations (Dkt.
          No. 134) and Garrity’s Motion to Strike the Expert Report of Dr. Regan Zane as it
          Relates to the Fulton Device (Dkt. No. 136)
          The motions were GRANTED. (PTC Tr. at 45:23–46:24). The Court found that although

 there may have been early disclosures of the prior art references, Defendants failed to disclose the

 specific combinations asserted. Failure to identify specific invalidity combinations in a timely

 manner is insufficient. Plaintiff previously challenged Defendants’ Motion to Amend (Dkt. Nos.

 122, 128) and the Court declined to grant Defendants leave to amend (Dkt. No. 168).

          Consistent with its previous ruling, the Court struck the corresponding paragraphs of Dr.

 Zane’s Report (¶¶ 36, 188, 190–94, 196, 213, 216, 218–22, 224–31, 233–57, 259–307, 310, 311,

 313, 315–20) that relate to the twenty-one new obviousness invalidity theories not timely

 disclosed. The new evidence on the prior art system may be presented in a manner consistent with

 the Court’s previous ruling (Dkt. No. 168). The Court clarified that this ruling does not prevent

 Dr. Zane from opining on anticipation theories not at issue in Plaintiff’s motions. (PTC Tr. at 64:5–

 68:5).




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 3.     Garrity’s Motion to Strike Certain Opinions of Dr. Lynde Under Federal Rule of
        Evidence 702 (Dkt. No. 135)
        The motion was DENIED. (PTC Tr. at 61:25–63:23). Dr. Lynde’s report does not fail to

 put forth any theory on economic comparability although the theory put forward is conclusory.

 The Court declined to grant Plaintiff’s relief based on a lack of economic comparability, but the

 Court noted that Dr. Lynde will be constrained to the four corners of his report when opining on

 economic comparability. The Court concluded that there is not such an absence of economic

 comparability in Dr. Lynde’s report to justify absolute exclusion.

        With regard to the methodology, the Court found that although Dr. Lynde does engage in

 patent counting, Dr. Lynde’s report provides more than the simple patent counting performed in

 Personalized Media Commcn’s, LLC v. Apple, Inc., Case No. 2:15-cv-01366, 2021 WL 662237,

 at *6-7 (E.D. Tex. Feb. 20, 2021) (“PMC”). The Court explained that PMC is not a prohibition

 on all patent counting but a prohibition on patent counting alone and without more. Here, however,

 the Court noted that there is enough additional analysis taken with such counting as a whole to

 support Dr. Lynde’s opinions. On balance, the Court found that Dr. Lynde’s opinions are not

 excludable. Defendants will be held to the four-corners of Dr. Lynde’s report and vigorous cross

 examination is an adequate remedy to address challenges to Dr. Lynde’s opinions.

 4.     Samsung’s Motion to Strike or Exclude Portions of the Expert Reports of David S.
        Ricketts Ph.D. (Dkt. No. 137)
        Regarding whether Dr. Ricketts presents new infringement theories regarding “burst

 mode,” the motion was DENIED. (PTC Tr. at 93:20–94:4). The Court found it improper to limit

 an expert’s testimony based on the testimony of an inventor.

        Regarding whether Dr. Ricketts presents new infringement theories regarding “resonant

 capacitor,” the motion was DENIED. (PTC Tr. at 94:5–10). The Court found it permissible for




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 Plaintiff provide more specificity in its infringement positions without changing its infringement

 theories.

        Regarding whether Dr. Ricketts’s analysis of the accused product uses unreliable

 methodology, the motion was DENIED.            (PTC Tr. at 94:11–17).       The Court found that

 Defendant’s objections can be adequately addressed through cross examination.

        Regarding whether Dr. Ricketts’s opinions are improper comments on fact witness

 credibility, the motion was DENIED. (PTC Tr. at 94:18–95:25). The Court noted that Dr. Ricketts

 makes a universal statement in paragraph 149 of his report that the testimony is insufficient for

 anyone. While, the Court declined to strike any portions of Dr. Ricketts’s report, the Court

 affirmatively instructed that Dr. Ricketts must condition his testimony before the jury during trial

 to what is or is not sufficient or credible in his own opinion. He must not offer testimony as to

 universal statements regarding the credibility of a witness’s testimony outside of his own personal

 opinion.

        Regarding whether Dr. Rickets opinions improperly attempt to revive a rejected claim

 construction, the motion was DENIED. (PTC Tr. at 96:1–17). The Court found that Dr. Ricketts’s

 opinions do not directly contradict the Court’s claim construction. The Court noted that no witness

 will be permitted to contravene the Court’s construction, but the Court viewed the paragraphs in

 question of Dr. Ricketts report as stating that Defendants’ expert has not shown how a particular

 claim limitation is met. The Court found that such was not subject to being struck.

        Regarding whether Dr. Ricketts provides support for Dr. Weinstein’s apportionment, the

 resolution of the motion was controlled by the Court’s resolution of Dkt. No. 138. (PTC Tr. at

 96:18–23).




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 5.     Samsung’s Motion to Exclude Opinion and Testimony of Plaintiff’s Damages Expert
        Roy Weinstein (Dkt. No. 138)
        With regard to all issues, the motion was DENIED. (PTC Tr. at 124:8–19). The Court

 found that all of Defendants’ challenges could be addressed by vigorous cross examination. The

 Defendants’ arguments primarily go to the weight that should be afforded to Mr. Weinstein’s

 opinions such that the exclusion is improper.




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                                     MOTIONS IN LIMINE

        It is ORDERED that the Parties, their witnesses, and counsel shall not raise, discuss, or

 argue the following before the venire panel or the jury without prior leave of the Court:

 I.     AGREED MOTIONS IN LIMINE (Dkt. No. 202)

        The following MILs 1-22 in the Joint Pre-Trial Order Dkt. No. 202 as well as Plaintiff’s

 MILs 1–7 (Dkt. No. 187) were GRANTED AS AGREED (PTC Tr. at 127:17–128:4):

 Agreed MIL 1          References to any pretrial rulings (or lack of rulings) by the Court
                       except claim construction.
 Agreed MIL 2          References to whether any testimony or opinions of either party’s
                       experts have been excluded or found unreliable in this or any other
                       lawsuit.
 Agreed MIL 3          Suggestion of fault of any party regarding timing of trial, jury service,
                       inconvenience to jurors as related to the pandemic.
 Agreed MIL 4          Arrangements with counsel.
 Agreed MIL 5          Any attempt to disparage the USPTO.
 Agreed MIL 6          Any reference to Ex Parte Review, Inter-Partes Review or Post-Grant
                       Reexamination Proceedings.
 Agreed MIL 7          Reference to Garrity Power as a “patent troll,” “troll,” “non-practicing
                       entity,” “patent assertion entity” or similarly disparaging labels or
                       characterizations.
 Agreed MIL 8          Any reference to enhanced damages or a potential attorneys’ fee
                       award.
 Agreed MIL 9          Assertions or suggestions that Samsung copied.
 Agreed MIL 10         The doctrine of equivalents.
 Agreed MIL 11         The geographic origin of counsel, the size of the parties’ law firms, or
                       the number of attorneys representing the parties.
 Agreed MIL 12         A witness’s choice to testify in his or her native language.
 Agreed MIL 13         Derogatory, Pejorative or Prejudicial Statements about Samsung as a
                       foreign company or the origins of COVID.
 Agreed MIL 14         Emphasizing the ethnicity, nationality or place of residence of any
                       party or witness.

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 Agreed MIL 15         Attempt to read or show the jury irrelevant exchanges between counsel.
 Agreed MIL 16         Comparisons of the burden of proof in this case to other areas of law.
 Agreed MIL 17         Pre-trial discovery disputes between the parties.
 Agreed MIL 18         Opinion of counsel.
 Agreed MIL 19         Unrelated legal proceedings or unrelated disputed matters between a
                       Defendant and any third party.
 Agreed MIL 20         Samsung’s total market capitalization, revenues or profits.
 Agreed MIL 21         General disparagement of Samsung.
 Agreed MIL 22         No reference to stealing by Defendants.
 II.    PLAINTIFF’S OPPOSED MOTIONS IN LIMINE (Dkt. No. 187)

 Plaintiff’s MIL 8     Assertions that no other manufacturer has made or is making products
                       according to the patent.

        The MIL was GRANTED. (PTC Tr. at 130:9–22). The Court noted that this MIL is mutual

 and applies to both Parties. The Court will exercise its gatekeeping role and a party may seek

 leave of Court should the other open the door on this issue.

 Plaintiff’s MIL 9     Assertions that Garrity Power has not asserted claims for infringement
                       of the patent-in-suit against any other manufacturers.

        The MIL was GRANTED AS AGREED. (PTC Tr. at 130:21–131:9).

 Plaintiff’s MIL 10    Preclude evidence of previously asserted claims that were dropped
                       from the case.

        The MIL was GRANTED AS AGREED. (PTC Tr. at 131:11–132:25). The Parties

 agreed that the Defendants will not argue or suggest that claims have been dismissed or dropped.

 Defendants may, however, address other relevant grounds related to the previously asserted claims.

 Plaintiff’s MIL 11    No evidence or argument regarding prior art references not discussed
                       in Defendants’ expert reports.

        The MIL was WITHDRAWN. (PTC Tr. at 133:1–7).



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 Plaintiff’s MIL 12     No evidence or argument that is contrary to the Court’s claim
                        construction for claims 9 and 12.

          The MIL was DENIED. (PTC Tr. at 134:9–25). The Court instructed the Parties to raise

 objections related to any expert testimony that is outside the boundaries of their report should such

 arise at trial.

 Plaintiff’s MIL 13     No evidence or argument that the Fulton device anticipates or renders
                        obvious claims 8, 10, 11, 12 and 17 of the ’067 patent.

          The MIL was DENIED. (PTC Tr. at 144:6–145:3). The Court instructed that Defendants’

 expert witnesses are not to testify outside the four corners of their reports and that fact witnesses

 may not testify outside their personal knowledge of the prior art.

 Plaintiff’s MIL 14     No demonstration, testimony or evidence of a currently working Fulton
                        device to wirelessly charge another device.

          The MIL was GRANTED. (PTC Tr. at 147:20–149:23). The Court will exercise its role

 as a gatekeeper to ensure that no surprise or unfair prejudice occurs with respect to the Fulton

 device at trial. The Court will review, outside the jury’s presence, any demonstratives or evidence

 related to the Fulton device in the context of fact and expert witness testimony presented at trial.

 Plaintiff’s MIL 15     No evidence or argument that an award of damages might increase
                        product prices, impact employees or economically injure a party.

          The MIL was GRANTED AS AGREED. (PTC Tr. at 149:24–150:6).

 Plaintiff’s MIL 16     Preclude Defendants’ designation of deposition testimony of their own
                        witnesses, rather than calling them live at trial.

          The MIL was DENIED. (PTC Tr. at 150:13–154:2). The Court finds that Fed. R. Civ. P.

 32 properly addresses the concerns raised by Plaintiff in this MIL. The Court will conduct such

 analysis at the time Defendants’ attempt to call an allegedly unavailable witness by deposition.




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 Plaintiff’s MIL 17      No evidence or argument that Defendants (1) are “practicing the prior
                         art,” (2) do not infringe because they have their own patents, and/or (3)
                         patented the wireless charging feature in the accused products as a
                         defense to infringement.

         The MIL was GRANTED. (PTC Tr. at 157:21–159:12). The Court clarified that the MIL

 was granted as written. However, should Plaintiff open the door to the concept of inventing

 bi-directional wireless charging, the Defendants may address, with prior leave of the Court, what

 has been opened. Additionally, this MIL does not preclude Dr. Zane from testifying within the

 four-corners of his export report.

 III.    DEFENDANTS’ OPPOSED MOTIONS IN LIMINE (Dkt. No. 188)

 Defendants’ MIL 1       No amplifying or otherwise expounding on the burden of proof.

         The MIL was GRANTED AS AGREED. (PTC Tr. at 159:15–163:1). The Parties agreed

 that Plaintiff will not contradict or redefine the burden of proof. The Court noted that it will

 instruct the jury on the applicable burdens of proof and instructed that the Parties may not deviate

 or contradict the Court’s instructions on the burdens of proof. The Court also noted that counsel

 can reference—when presenting evidence and arguments—the Court’s instructions on the burdens

 of proof.

 Defendants’ MIL 2       No referencing or criticizing the identity, presence, or absence of
                         corporate representatives, or parties’ employees or officers in the
                         courtroom.

         The MIL was GRANTED AS AGREED. (PTC Tr. at 159:15–164:13). The Court noted

 that Plaintiff will not make reference to Defendants’ failure to call to trial any particular witnesses.




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 Defendants’ MIL 3     No references to or argument regarding the expert report drafting
                       process and communications between an expert and counsel.
         The MIL was GRANTED AS AGREED. (PTC Tr. at 159:15–160:6). The Parties agreed

 that there should be no testimony, evidence, or argument on the mechanics of the expert report

 drafting process, including any consultation with lawyers.

 Defendants’ MIL 4     No evidence, argument, or suggestion relating to documents allegedly
                       not produced during discovery.

         The MIL was GRANTED. (PTC Tr. at 168:20–169:7). The Court noted that expert

 witnesses may not testify outside the four corners of their reports. However, if one party, through

 counsel or witnesses, opens the door to an issue about a lack of produced discovery on cross

 examination, with prior leave and guidance given, the Court will not preclude a fair rejoinder

 should it appear to the Court that the door has been opened.

 Defendants’ MIL 5     No evidence, testimony, or argument contrary to the claim
                       constructions in this case.

         The MIL was DENIED. (PTC Tr. at 170:11–19). The Court noted that this is addressed

 by a separate agreed MIL and found that the Court’s previous rulings control the outcome of this

 MIL.

 Defendants’ MIL 6     No references to the confidentiality designation of any document.

         The MIL was DENIED. (PTC Tr. at 173:19–22). The Court noted that Plaintiff agreed

 on the record to refer to Samsung documentation as Samsung “internal” documentation and avoid

 referencing the status of the documents classified as “confidential” for the purposes of this

 litigation.




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 Defendants’ MIL 7      No evidence, argument, or suggestion that Samsung doesn’t care about
                        intellectual property.
        The MIL was GRANTED. (PTC Tr. at 178:4–179:5). The Court determined that it will

 be an active gatekeeper. Prior leave of Court must be obtained to go into this issue before the jury.

 Defendants’ MIL 8      No infringement theories not disclosed in infringement contentions.

        The MIL was DENIED. (PTC Tr. at 179:13).

 Defendants’ MIL 9      No evidence, argument, or testimony regarding licenses that the parties
                        agree are not comparable.
        The MIL was DENIED. (PTC Tr. at 179:20–181:21). The Parties agreed that neither shall

 seek to offer “evidence, argument, or testimony regarding the amount of any licenses that the

 parties agree are not comparable.” The Parties agreed that they may introduce such license

 agreements and the form of the agreements, but not the amount. The Parties acknowledged that

 the monetary amount in such licenses will be redacted.

 Defendants’ MIL 10 No evidence, argument, or testimony that a failure to award damages
                    or an invalidity finding could economically injure Garrity.

        The MIL was GRANTED AS AGREED. (PTC Tr. at 182:22–23).

 Defendants’ MIL 11 No reference to trespass.

        The MIL was WITHDRAWN. (PTC Tr. at 182:24).

 Defendants’ MIL 12 No evidence, argument,                 or   testimony      regarding     pre-suit
                    communications.

        The MIL was WITHDRAWN. (PTC Tr. at 182:24–25).

 Defendants’ MIL 13 No references to “vaporware.”

        The MIL was DENIED. (PTC Tr. at 184:11–19).

 Defendants’ MIL 14 No reference to out-of-context analogies regarding the “encircling”
                    claim term.



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        The MIL was DENIED. (PTC Tr. at 188:4–189:1). The Court noted that it will not

 preclude either party from presenting testimony on the plain and ordinary meaning of the

 “encircling” term.

       So ORDERED and SIGNED this 10th day of December, 2021.




                                                   ____________________________________
                                                   RODNEY GILSTRAP
                                                   UNITED STATES DISTRICT JUDGE




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                                     ADDITIONAL ISSUES

        The Parties raised several additional issues in their Joint Pre-Trial Order. (Dkt. No. 202).

 Regarding Additional Matter 3, the Court noted that it will hold the Parties to their previous

 agreement and preclude either from taking a position before the jury that Claim 15 requires more

 than a single coil. (PTC Tr. at 194:19–195:5).




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